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AO 91 (Rev. 11/11) Criminal Complaint                                                                         2023R00334


                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of Minnesota

   UNITED STATES OF AMERICA,                                     FILED UNDER SEAL PURSUANT TO 18 U.S.C.
                                                                 § 3509(d)(2) AND LOCAL RULE 49.1(c)(1)(G)
               v.
                                                                 Case No. 23-MJ-562 (DJF)
   CALEB VINCENT MCLAUGHLIN,
         a/k/a “JAKE BENSON,”
         a/k/a “LIFT11,”
         a/k/a “TECH4CM”

                                               CRIMINAL COMPLAINT
       I, Matthew Vogel, the undersigned complainant, being duly sworn, state the following is true and correct to the
   best of my knowledge and belief.

                               COUNT 1 – Production and Attempted Production of Child Pornography

            On or about July 31, 2021, in the District of Minnesota and elsewhere, CALEB VINCENT MCLAUGHLIN
   attempted to, and did employ, use, persuade, induce, entice, and coerce Minor Victim 1, approximately 14 years old,
   to engage in sexually explicit conduct for the purpose of producing a visual depiction of such conduct, to wit, a data
   file identified as b~EiQSFVhaUndpcjc2aW5HZjRGWGgzcjZOThoAGgAyAQNIAlAEYAE~v4.mp4, a video
   approximately nine seconds in duration depicting a closely framed view of Minor Victim 1 masturbating and
   inserting fingers into her vagina, knowing and having reason to know that such visual depiction would be transported
   using any means and facility of interstate and foreign commerce, transported in and affecting interstate and foreign
   commerce, and was produced and transmitted using materials that had been mailed, shipped, and transported in and
   affecting interstate and foreign commerce by any means, including by computer, all in violation of Title 18, United
   States Code, Sections 2251(a) and (e).

                                    COUNT 2 – Child Enticement and Attempted Child Enticement
                                             Using a Facility of Interstate Commerce

            From at least on or about June 9, 2022, and continuing through at least on or about December 15, 2022, in
   the District of Minnesota and elsewhere, CALEB VINCENT MCLAUGHLIN using a facility and means of interstate
   and foreign commerce, namely, the Internet, did knowingly attempt to and did persuade, induce, entice, and coerce
   Minor Victim 2, approximately 14 to 15 years old, to engage in prostitution or any sexual activity for which any
   person can be charged with a criminal offense, to wit, Criminal Sexual Conduct in the first, second, and third degrees
   in violation of Minnesota Statute Sections 609.342.1a(f), 609.342.2(b), 609.343.1a(f), 609.343.2, 609.344.1a(b), and
   609.344.2, that occurred in and around Ramsey County, Minnesota, and the production of child pornography in
   violation of Title 18, United States Code, Section 2251(a), all in violation of Title 18 United States Code, Sections
   2422(b) and 2427.

                                   COUNT 3 – Receipt and Attempted Receipt of Child Pornography

           On or about June 15, 2022, in the District of Minnesota and elsewhere, CALEB VINCENT MCLAUGHLIN
   attempted to and did knowingly receive a visual depiction, to wit, a data file identified as
   b~EioSFU83SVFLTEoxeHNHVTRnY0twU2dwdRoAGgAiBgj0_suWBjIBA1AEYAE~v4.jpg, an image depicting
   Minor Victim 2, approximately 14 years old, using her fingers to spread the labia and display the vaginal opening.
   The visual depiction was received using any means or facility of interstate commerce, including by computer, where
   the production of such visual depiction involved the use of a minor engaging in sexually explicit conduct, and such
   visual depiction is of such conduct, all in violation of Title 18, United States Code, Sections 2252(a)(2) and (b)(1).
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July 17, 2023
